  Case 1:24-cv-03805-MMH Document 25 Filed 08/29/24 Page 1 of 1 PageID #: 95



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


  GARY CARRION,

                                                Plaintiff,

                        -against-

  THE CITY OF NEW YORK, et al.
                                                                              Case No.: 1:24-cv-3805
                                                Defendants.


                                                   AFFIDAVIT OF SERVICE
 State of New York  )
                    )
 County of New York )

 The undersigned being duly sworn, deposes and says:

    1. I, Leslie Umanzor, am not a party to the action, and am over 18 years of age;

    2. On August 26, 2024, I served the within Summonses and Complaint (Doc. 1) on Defendant

        Diaz, by hand-delivering the same to One Police Plaza, Room 110A, New York, NY

        10038, where, pursuant to Fed. R. Civ. P. 4(e)(2)(C), Defendant Diaz authorized

        service to be accepted on his behalf.




                                                               Leslie Umanzor

            z..q
    -4Uf1-,
 Sworn to before me this
 day of         2024


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        c:.::   l\AA J WOLKENSDORFER                             SARA J WOLKENSDORFER
                  ... , 'BUC; (f,\1J OF NEW YORK              NOTARV,PUBLIC, STATE OF NEW YORK1
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